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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

   Case No. LA CV 20-02291-DOC-KES                                     Date: April 1, 2024

   Title: LA ALLIANCE FOR HUMAN RIGHTS, et al., v. CITY OF LOS ANGELES, et al.


   PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                 Karlen Dubon                                   Not Present
                Courtroom Clerk                                Court Reporter

         ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
               PLAINTIFF:                                  DEFENDANT:
              None Present                                  None Present


         PROCEEDINGS (IN CHAMBERS): REQUEST FOR COUNCIL
                                    DISTRICT AND CITY
                                    BREAKDOWN OF MENTAL
                                    HEALTH BEDS

          The Court is in receipt of the County’s Supplemental Status Report (Dkt. 689),
   which includes a chart entitled “Mental Health/Substance Use Disorder Beds Quarterly
   Report (For the Period Ending December 31, 2023).” Ex. C to Supplemental Status
   Report (Dkt. 689-1). The Court requests that the County provide a breakdown of these
   beds that identifies their location by Los Angeles City Council district and
   councilmember, or city within the county, by Wednesday, April 3 at 12 p.m.

         The Clerk shall serve this minute order on the parties.

    MINUTES FORM 11                                            Initials of Deputy Clerk: kdu

    CIVIL-GEN
